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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X               10/20/2020
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                                                                       :
                  -v-                                                  :      20-CR-537 (JPC)
                                                                       :
                                                                       :        NOTICE OF
JOSE MARTINEZ, also known as “MIGUEL                                   :      ADJOURNMENT
MARTINEZ,” and MARIO DE LA ROSA,                                       :
                                                                       :
                                    Defendants.                        :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        The arraignment and initial conference for Defendant Mario de la Rosa is hereby adjourned

from October 20, 2020, at 9:00 a.m. to October 26, 2020, at 11 a.m. The public access line is (855)-

268-7844, access code 67812309, pin code 9921299.

        SO ORDERED.

Dated: October 20, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
